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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

SHAWN WILLIAMS,                              )
                                             )
              Plaintiff,                     )
                                             )
       v.                                    )          No. 4:08CV1987 DDN
                                             )
BOBBY GARRETT, et al.,                       )
                                             )
              Defendants.                    )

                           MEMORANDUM AND ORDER

       This matter is before the Court upon the motion of Shawn Williams (registration

no. 100045), an inmate at St. Louis City Justice Center (“SLCJC”), for leave to

commence this action without payment of the required filing fee [Doc. #2]. For the

reasons stated below, the Court finds that plaintiff does not have sufficient funds to pay

the entire filing fee and will assess an initial partial filing fee of $12.40. See 28 U.S.C.

§ 1915(b)(1). Furthermore, based upon a review of the complaint, the Court finds that

the complaint should be dismissed pursuant to 28 U.S.C. § 1915(e)(2)(B).

                                 28 U.S.C. § 1915(b)(1)

       Pursuant to 28 U.S.C. § 1915(b)(1), a prisoner bringing a civil action in forma

pauperis is required to pay the full amount of the filing fee. If the prisoner has

insufficient funds in his or her prison account to pay the entire fee, the Court must

assess and, when funds exist, collect an initial partial filing fee of 20 percent of the
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greater of (1) the average monthly deposits in the prisoner’s account, or (2) the average

monthly balance in the prisoner’s account for the prior six-month period. After

payment of the initial partial filing fee, the prisoner is required to make monthly

payments of 20 percent of the preceding month’s income credited to the prisoner’s

account. 28 U.S.C. § 1915(b)(2). The agency having custody of the prisoner will

forward these monthly payments to the Clerk of Court each time the amount in the

prisoner’s account exceeds $10, until the filing fee is fully paid. Id.

       Plaintiff has submitted an affidavit and a certified copy of his prison account

statement for the six-month period immediately preceding the submission of his

complaint. A review of plaintiff’s account indicates an average monthly deposit of

$62.00, and an average monthly balance of $14.39. Plaintiff has insufficient funds to

pay the entire filing fee. Accordingly, the Court will assess an initial partial filing fee

of $12.40, which is 20 percent of plaintiff’s average monthly deposit.

                                   28 U.S.C. § 1915(e)

       Pursuant to 28 U.S.C. § 1915(e)(2)(B), the Court may dismiss a complaint filed

in forma pauperis if the action is frivolous, malicious, fails to state a claim upon which

relief can be granted, or seeks monetary relief against a defendant who is immune from

such relief. An action is frivolous if “it lacks an arguable basis in either law or in fact.”

Neitzke v. Williams, 490 U.S. 319, 328 (1989). An action fails to state a claim upon

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which relief can be granted if it does not plead “enough facts to state a claim to relief

that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1974

(2007).

      In reviewing a pro se complaint under § 1915(e)(2)(B), the Court must give the

complaint the benefit of a liberal construction. Haines v. Kerner, 404 U.S. 519, 520

(1972). The Court must also weigh all factual allegations in favor of the plaintiff,

unless the facts alleged are clearly baseless. Denton v. Hernandez, 504 U.S. 25, 32-33

(1992); Scheuer v. Rhodes, 416 U.S. 232, 236 (1974).

                                    The Complaint

      Plaintiff brings this action under 42 U.S.C. § 1983. Named as defendants are

Bobby Garrett (police officer), the City of St. Louis Metropolitan Police Department

(the “Department”), and the Board of Police Commissioners (the “Board”). Plaintiff

seeks both monetary relief and release from confinement.

      Plaintiff alleges that defendant Garrett and another police officer falsely arrested

him and took $3,000 from him. Plaintiff claims that after the arrest, Garrett took

plaintiff to his home to search for more money. Plaintiff says that Garrett made false

charges against him for the purpose of stealing plaintiff’s money. Plaintiff alleges that

the Department and the Board are responsible for Garrett’s actions.

                                      Discussion

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       The complaint is silent as to whether defendant Garrett is being sued in his

official or individual capacity. Where a “complaint is silent about the capacity in which

[plaintiff] is suing defendant, [a district court must] interpret the complaint as including

only official-capacity claims.” Egerdahl v. Hibbing Community College, 72 F.3d 615,

619 (8th Cir. 1995); Nix v. Norman, 879 F.2d 429, 431 (8th Cir. 1989). Naming a

government official in his or her official capacity is the equivalent of naming the

government entity that employs the official. Will v. Michigan Dep’t of State Police,

491 U.S. 58, 71 (1989). To state a claim against a municipality or a government

official in his or her official capacity, plaintiff must allege that a policy or custom of the

government entity is responsible for the alleged constitutional violation. Monell v.

Dep’t of Social Services, 436 U.S. 658, 690-91 (1978). The instant complaint does not

contain any allegations that a policy or custom of a government entity was responsible

for the alleged violations of plaintiff’s constitutional rights. As a result, the complaint

fails to state a claim upon which relief can be granted as to Garrett.

       Plaintiff’s claim against the Department is legally frivolous because the

Department is not a suable entity. Ketchum v. City of West Memphis, Ark., 974 F.2d

81, 81 (8th Cir. 1992) (departments or subdivisions of local government are “not

juridical entities suable as such.”); Catlett v. Jefferson County, 299 F. Supp. 2d 967,

968-69 (E.D. Mo. 2004) (same).

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      There is no respondeat superior liability in § 1983 suits. Boyd v. Knox, 47 F.3d

966, 968 (8th Cir. 1995). As a result, the complaint fails to state a claim upon which

relief can be granted as to the Board.

      For these reasons, the Court will dismiss this action under 28 U.S.C. § 1915(e).

      Accordingly,

      IT IS HEREBY ORDERED that plaintiff’s motion to proceed in forma

pauperis [Doc. #2] is GRANTED.

      IT IS FURTHER ORDERED that the plaintiff shall pay an initial filing fee of

$12.40 within thirty (30) days of the date of this Order. Plaintiff is instructed to make

his remittance payable to “Clerk, United States District Court,” and to include upon it:

(1) his name; (2) his prison registration number; (3) the case number; and (4) that the

remittance is for an original proceeding.

      IT IS FURTHER ORDERED that the Clerk shall not issue process or cause

process to issue upon the complaint because the complaint is legally frivolous or fails

to state a claim upon which relief can be granted, or both.




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    An Order of Dismissal will accompany this Memorandum and Order.

    Dated this 23rd Day of January, 2009.



                                      /s/ Jean C. Hamilton
                                      UNITED STATES DISTRICT JUDGE




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